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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        :       CRIMINAL ACTION NO. 19-64
                                                 :
JOHN DOUGHERTY                                   :


                                 MEMORANDUM OPINION

SCHMEHL, J. /s/ JLS                                                                 July 31, 2023

       On January 29, 2019, Defendant John Dougherty was indicted for allegedly embezzling

funds of the union he ran, the International Brotherhood of Electrical Workers Local Union 98

(“Local 98” or the “Union”), and for public corruption relating to his dealings with Defendant

Robert Henon. The Court bifurcated this First Indictment and held trial on the public corruption

charges in late 2021. Ultimately, the jury found Mr. Henon guilty of ten counts and Mr. Dougherty

of eight. Mr. Dougherty, together with Defendant Brian Burrows, now faces a trial for the First

Indictment’s embezzlement charges.

       In March 2021, the Government obtained another indictment relating to an altercation that

took place at the Live! Casino in Philadelphia. See United States v. Dougherty et al., No. 21-cr-65

(E.D. Pa. March 2, 2021), ECF No. 1. This Second Indictment charges Mr. Dougherty and Mr.

Gregory Fiocca with extortion. Over the course of 2022, in preparing for a trial in that case, the

Government revealed that it had engaged a confidential informant (“CI”) who attended Local 98

meetings and reported to the Government what transpired at those meetings. The Government’s

CI was active as early as June 2020—in other words, after the unsealing of the First Indictment

and, therefore, during the timeframe in which Mr. Dougherty was preparing to defend against the

public corruption charges set for trial. Now before the Court is Mr. Dougherty’s Motion to Dismiss
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the Indictment in Light of the Government’s Violations of His Fifth and Sixth Amendment Rights

and Other Willful Discovery Violations (ECF No. 417). For the reasons set forth below, Mr.

Dougherty’s Motion is denied.

  I.   BACKGROUND

       A.      Post-First Indictment Investigation and Engagement of the CI

       During the summer of 2020, while Mr. Dougherty was under indictment for the

embezzlement and public corruption charges, the Government claims that it was also investigating

Mr. Dougherty for post-First Indictment allegations of “witness intimidation and retaliation,

embezzlement separate from and occurring well after the charged activities, unlawfully attempting

to shut down a website critical of union management, and potential violations of federal law

concerning union elections.” (Gov.’s Br. 3, ECF No. 424.) To date, Mr. Dougherty is not subject

to any charges stemming from these allegations.

       Also while Mr. Dougherty was under indictment, the Union held frequent meetings—some

in person, and others via video or telephone conferencing. The parties have not described the

meetings as open to the public, but according to transcripts of the CI’s recordings, they appear to

have typically consisted of around 30 Union employees. See also Evidentiary Hr’g Tr. 61:11–14,

United States v. Dougherty, No. 21-cr-65 (E.D. Pa. June 30, 2022), ECF No. 108 [hereinafter the

“Hr’g Tr.”] (reflecting Agent Blake’s agreement that the meetings consisted of “a fairly large

group of Local 98 employees”). Mr. Dougherty presided over these meetings and often discussed

not only Union business but also the pending criminal charges against him. Id. at 61:17–24.

       FBI Special Agents Jessica Fear and Jason Blake, who were part of the team investigating

Mr. Dougherty, first met with the CI in person in June 2020. During that meeting, the CI claimed

Mr. Dougherty was using threats and intimidation at Union meetings, and the CI provided a

recording he had made of a meeting held on November 2, 2019. A few days later, the CI provided


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three additional recordings of meetings in September and October 2019. The Government asserts

that it created a filter team “[n]ot long after” it received these three additional recordings. (Gov.’s

Br. 4.) The CI ultimately gave the FBI 31 recordings of Mr. Dougherty, 1 as well as additional

information provided to Agent Fear and, infrequently, the filter team itself. The Government then

created “source reports” that summarized this information. (Id. at 7.)

       B.      Post-Second Indictment Use of the CI

       On August 19, 2020, an incident occurred at Live! Casino which gave rise to the Second

Indictment against Mr. Dougherty. The Second Indictment alleges that a pay dispute escalated

into a physical altercation between Mr. Dougherty’s nephew (and co-defendant), Gregory Fiocca,

and an electrical contractor. Mr. Dougherty claims that the Government first learned of the

incident from the CI and used this information to commence the investigation that culminated in

the Second Indictment. (Def.’s Br. 7, ECF No. 417.) On August 24, 2020, the Government

authorized the CI to record Mr. Dougherty during a Local 98 meeting in which he discussed the

altercation. According to the relevant source report, Mr. Dougherty explained that everyone

should “back Fiocca” as an “extension of the business office.” (Id. at 8.) Based on the CI’s

information, Mr. Dougherty claims, the Government obtained and executed a search warrant for

Local 98’s office in October 2021. (Id.) On March 3, 2021, the Second Indictment was unsealed,

and the Government arrested Mr. Dougherty at his home. Thereafter, the CI continued to record

Mr. Dougherty during Local 98 meetings.




1
       The CI made more than 31 recordings in total, but those additional recordings either
captured speakers other than Mr. Dougherty or were the result of the CI mistakenly activating the
recording equipment, such as while the CI was at home. Hr’g Tr. 62:12–63:10.



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       C.      The Government Reveals the Existence of the CI to the Defense

       In March 2022, shortly before trial on the Second Indictment was to begin, the Government

produced the CI’s recording of the meeting held on August 24, 2020, in which Mr. Dougherty

discussed the fight at Live! Casino. To safeguard the CI’s identity, the Government declined Mr.

Dougherty’s request to reveal the origin of the recording. On April 4, 2022, the Government

disclosed that the CI had supplied information to the Government beginning in mid-2020. Then,

on April 27, 2022, the Government revealed that the CI produced over thirty recordings from

Local 98 meetings, and the Court ordered in camera review of the recordings and source reports.

On July 7, 2022, the Court ordered the Government to provide certain materials to Mr. Dougherty.

See Order, United States v. Dougherty, No. 21-cr-65 (E.D. Pa. July 7, 2022), ECF No. 110.

       D.      Precautions Taken by the Government

               1.     Instructions to the CI

       Given the dangers inherent to recording an indicted individual preparing for trial, Agent

Fear gave the CI certain instructions in the presence of Agent Blake. Specifically, she explained

to the CI that Mr. Dougherty faced pending criminal charges, about which the CI should not elicit

any information, and that Mr. Dougherty’s Sixth Amendment rights had attached. See Hr’g

Tr. 100:5–101:25. The FBI also instructed the CI not to interfere with Mr. Dougherty’s legal

defense or disclose any communications between Mr. Dougherty and his attorney. 2 Id. The

Government claims that consistent with these protocols, the CI never asked Mr. Dougherty any




2
         Agent Fear reminded the CI of these instructions more than once, see Hr’g Tr. 102:1–22,
but did not provide additional instructions specific to the unsealing of the Second Indictment, see
id. at 131:5–133:2.



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questions pertaining to his criminal charges, trial, or defense strategy during the recorded meetings.

(Gov.’s Br. 6).

       Agent Fear also instructed that if the CI heard any information that could be considered

legal advice, Agents Fear and Blake “didn’t want to receive that information.” Hr’g Tr. 101:18–

19. Instead, the FBI would connect the CI to another agent unaffiliated with the investigation into

Mr. Dougherty. Id. at 101:19–25. Indeed, on more than one occasion, the CI advised Agents Fear

and Blake that he had such information, after which the agents followed the prescribed process.

Id. at 103:8–19. A filter team, discussed below, then created source reports concerning this

potentially privileged information and redacted those source reports before turning them over to

Agent Fear. Id. at 122:13–23.

                  2.   The Filter Team

       The Government established a filter team to listen to the recordings and redact any

potentially privileged information from the transcripts. The Filter Team consisted of three FBI

agents and two assistant U.S. attorneys, none of whom were working on the investigation into Mr.

Dougherty. The filter team used procedures drafted by Mr. Frank Costello, an assistant U.S.

attorney in this case. Hr’g Tr. 56:16–17. Among other things, these procedures identified the

attorneys working for both Mr. Dougherty and other relevant parties. Id. at 56:18–21. The

procedures also explained protected attorney work product, including an attorneys’ legal theories

about the case. Id. at 88:1–16. As the parties have discussed at the June 30, 2022, hearing and

thereafter, the procedures discuss the “right to counsel” but do not specifically name the Sixth

Amendment or use the phrase “trial strategy.” Id. at 77:1–78:3. Other than as set forth below,




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neither the prosecution team nor Agents Fear and Blake heard the portions of the recordings that

the filter team redacted for privilege purposes. 3 Id. at 64:1–7.

       E.      Mr. Dougherty Seeks Dismissal of the First Indictment

               1.      Alleged Shortcomings in the Filter Team

       The main thrust of Mr. Dougherty’s Motion consists of alleged shortcomings in the filter

team process, which shortcomings fall into two categories: the procedures were too narrow in

scope concerning potentially protected information, and members of the team investigating Mr.

Dougherty were improperly intertwined with (or bypassed altogether) the filter team. As to the

first point, Mr. Dougherty claims that the procedures were “fatally limited” to only attorney-client

privilege and attorney work product.        Instead, he argues, they should have also expressly

mentioned the Sixth Amendment and confidential defense strategy. (Def.’s Br. 8–9.) Because of

this narrow scope, Mr. Dougherty alleges that the prosecution has seen numerous statements that,

according to Mr. Dougherty, reveal his confidential defense strategy for the embezzlement case—

namely, that despite the Union’s “unprecedented growth and improvement” under Mr.

Dougherty’s leadership, the Union “never updated” its “informal fiscal and management

practices,” leading to significant “uncompensated hours and expenses he personally accumulated

due to the lack of attention and formality.” (Id. at 21.) 4 Mr. Dougherty also points to the filter




3
         To protect the identity of the CI, Agents Fear and Blake made a separate set of redactions
to the transcripts before their disclosure to Mr. Dougherty. Hr’g Tr. 64:23–65:5.
4
        Specifically, Mr. Dougherty reproduced the following statements from the recording
transcripts as evidence of this confidential defense strategy:

       September 28, 2019

               Page 6: I don’t even know when I get a raise. All I know I got a raise until you guys
               get a raise. I couldn’t tell you how much money I make, I couldn’t tell you how


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      much money’s in the deferred. Tara hands me notes now, because I have to be
      concerned with that, for the first time in my life.

      Page 7: Watch the clock it’s like you know, but I want to let you know there’s no
      days off. There’s no days off for me.

      Page 21: Marketing. Tonight, being at dinner. The golf outings. When I tell you to
      go to the golf outings, it’s not to pull up at 10 o’clock, run to your cart, hit a golf
      ball, it’s to show up at 9 o’clock, get a couple of calls, see people coming in, joke
      with ’em, have Local 98 golf balls, say by the way Johnny wants you to have these.

October 5, 2019

      Page 2: Me and Niko stopped up at the job, what last night we were in the back
      what, 6 o’clock? Okay so I’m not being I’m not being sarcastic I’m just telling you
      why we’re here and why we, what we’ve gotta accomplish while we’re here. Today
      I moved it back to 10, so that we could the kids’ funeral if you guys want go, a
      steward down at TastyCake. You know loses his 21 year old daughter, leukemia.
      Pretty significant. Wanted to have a few people there. Now the old days, okay,
      Minky picks me up, we go out to get we go stop someplace Einstein Bagels or
      something okay we get a bagel and coffee, we ride out we go up there early we
      shake a few hands we go there, we see if the family needs anything and sometime
      during the week Minky will stop back, and drop something off to the family. Okay.
      If he got around to putting a receipt in, he’d put a receipt in, if not me and him . . .

      Page 3: Four nights a week they showed up with food from, the Melrose, that they
      never put a receipt in for. For 10, 20 people. . . .

      Page 6: You should read the docket you’ll see. Everybody they think like , the
      government thinks that like the stuff I gave out like Friday is, code for fucking some
      stupid fucking relationship I’ve got. The whole flower fucking thing. . . So they
      can’t believe that I would be on the phone , trying to get Tommy Rumbaugh,
      fucking flower show tickets. . . . [T]he Government doesn’t understand why I would
      be on the phone on a Thursday night at 11 o’clock, okay because the flower show
      ends on Saturday, getting tickets. . . So that’s what they do when they say well why
      are you paying, union resources to go pick up flower show tickets., or , they don’t
      understand , that, I’m in trouble for flower show tickets. I didn’t ask for them. . . .
      You know, I’m fucking in trouble for that.

September 3, 2020

      Page 5: Now I love Buddy, this Local union has donated every three four weeks
      and Bryan Young does a great job, he buys stuff at target and Rite Aid, and we’ve
      given him personal money, in fact, I was giving him, he was talking we’ve given
      him Dunkin Donuts we’re giving him some more, ahh, cards . . .



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September 15, 2020

       Page 1: And we also ha-had people lobbying Bradford at a golf outing yesterday
       about taking the lead on some of that, you know, on the, on the ahh,
       Commonwealth’s project. Talked to everybody, ahh, Brian Fiocca will tell you I
       was sitting with Lou Barletta and a couple of people today . . . because I’m trying
       to get, as much money, six-seven hundred million dollars for a subway in, in the
       Navy Yard . . .

October 17, 2020

       Pages 9–10: I had two of you in the last two weeks tell me, you know, since the
       government, I don’t even go there. No, you have to go there. We are not throwing
       bricks through a window to get there. You don’t care if a guy’s wired. Ok. We’re
       not breaking any laws. We don’t break any laws. . . . Because my normal (UI) is,
       my normal thing is, hey what do you need, how do we help you, how many people
       can I put to work . . . Page 14: Cause we’re gonna prove it was a rogue U.S. Attorney
       who was weaponizing people to protect his pension at Comcast, his family’s
       retirement. Page 15: He’s not apologizing for this one, I’m telling you. You know
       he’s kinda pissed, as he should be. He wants to go to trial. You got the U.S.
       Attorney’s wife is the lawyer at Comcast. That was our big fight. Ok. He’s asking
       that question and people get nervous.

November 15, 2020

       Page 6: I guara, guarantee yah the next guy after me doesn’t in the middle of an
       Eagles game talk to 25 people and take 30 phone calls.

April 26, 2021

       Pages 2–3: So, again, Jack and Tara have already given me my dos and don’ts for
       today, what I can say and what I can’t say. . . So, I just want you to know, every
       freakin’, and we were laughing Tara, Jack and myself were in a meeting, one of the
       lawyers said, you get 150 minimum texts a day. Every day. Saturdays, too.

September 30, 2021

       Page 4: They came back about two years later went after the apprentice training but
       focused on me, because they, we were using the vendor who was giving money to
       other labor leaders directly for the use of the vending machines where our vending
       machines went to apprentice training . . . we didn’t have food back then and we
       didn’t have stores across the street back then, that was the only place we could go
       and get snacks at 11 o’clock on a Saturday night when we were working on trying
       to clean up the list. And I asked to put Doritos in the machine. So I’m guilty of
       adding Doritos to the machine.



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team’s failure to redact a statement relating to the fight at Live! Casino which, Mr. Dougherty

claims, reveals his intent to call a particular witness at trial for the Second Indictment. 5

        Second, as to the investigating team’s entanglement with (or bypassing of) the filter team,

Agents Fear and Blake reviewed certain recordings that had not been turned over to the filter team.

In preparing for trial in the extortion case, Agent Blake found that he possessed three such

recordings. Because, at that time, the trial was set to begin shortly, Mr. Costello counseled Agent

Blake to listen to the tapes himself, provided that he shut off the tapes “if anything that would cross

into the Sixth Amendment realm came up.” Hr’g Tr. 67:16–24. Agent Blake testified that he did

not hear anything from those recordings that concerned trial strategy or privileged information.

Id. at 68:6–9. Of the numerous statements that, Mr. Dougherty claims, reflect confidential defense

strategy, one such statement originates from one of the three recordings reviewed by Agent Blake:

“[O]ne of the lawyers said, you get 150 minimum texts a day. Every day. Saturdays, too.” (Def.’s




        November 23, 2021

                Page 1: There’s nothing that went on in this union, okay good bad or indifferent
                (UI). Okay? With taking way more credit to the bad and indifferent than I ever did
                for the good. Okay? So finish some of this, at no time did we see a problem. And
                every specialist that I could communicate with (UI).

                Page 2: You, that’s not in the indictment, I am not worried about the future ones,
                some of the ones, oh you took from this, I’m telling you at the next one, I’ll, the
                union will owe me money. When they realize all the pay I didn’t take . . .

                Page 3: Except the US Attorney who proceeded with that stuff was married to the
                top in-house counsel at Comcast.

(Def.’s Br. 22–25.)
5
         In the unredacted recording transcript, Mr. Dougherty stated, “[T]hat casino would have
never went on time, if, if, you ask Dave Thomas, if I don’t move to do what I do even when our
mayor and governor were trying to sell off the license for, for public education funding. So I get
to tell the story, and I get to bring the governor and mayor and everybody in to validate it.” (Def.’s
Br. 29–30.)


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Br. 24 (quoting the recording transcript).) Agent Blake testified that although he heard Mr.

Dougherty say that “one of the lawyers said” something, Mr. Dougherty “was talking rather

quickly,” and Agent Blake “could hear that [Mr. Dougherty and his interlocutors] had moved

beyond any type of indication that this was a Sixth Amendment issue or” constituted something

“that needed to be redacted.” Hr’g Tr. 69:5–22. 6

       After consulting with Mr. Costello, Agent Fear also listened to a recording without first

sending it to the filter team, possibly because the team did not exist at that time. This recording,

which was the very first that the CI gave to Agent Fear, related to a meeting held on

November 2, 2019. Mr. Dougherty has not claimed that this meeting contained any protected

information, and Agent Fear testified that she did not hear any such information from that

recording. Id. at 105:17–20.

       Further related to the allegedly improper design of the filter team, Mr. Dougherty takes

issue with the fact that FBI agents, not lawyers, conducted the initial review of recordings, and the

assistant U.S. attorneys assigned to the filter team reviewed only those portions flagged by the FBI

agents—not the entire recording. (Def.’s Br. 9–10.) Mr. Dougherty also asserts that there exists

an “inherent bias of a filter team that is composed of agents and AUSAs from the same office as

the investigative team.” (Id. at 33.) Finally, Mr. Dougherty notes that one filter team agent was

not totally unaffiliated with the agents investigating Mr. Dougherty, as that agent participated in

the execution of a search warrant related to the Second Indictment. (Id. at 32.)




6
        Agent Blake further testified that on another occasion, the filter team failed to redact a
potentially privileged portion of a recording because Mr. Dougherty had mispronounced the name
of one of his attorneys. Hr’g Tr. 71:15–21. Agent Fear recognized the mistake and sent the
recording back to the filter team for redaction. Id.


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               2.      The CI’s Motives

       Separate from the filter team issues, Mr. Dougherty argues that the Government failed to

address sufficiently the CI’s motives in acting as an informant for the Government.           The

Government claims that the CI was motivated by concern about the threats and intimidation

(Gov.’s Br. 3), but Mr. Dougherty highlights that the CI’s self-reported motivation was protecting

the integrity of the Union (Def.’s Br. 5). The Government notes that it engaged the CI through

“[t]he normal FBI process” and that “[t]he CI was not compensated in any way” (Gov.’s Br. 5),

but Mr. Dougherty speculates that “the CI might have been in a position to benefit financially or

otherwise should Mr. Dougherty be convicted” (Def.’s Br. 5). On that basis, Mr. Dougherty argues

that such motives may have “inspired” the CI “to encourage Mr. Dougherty to express himself

more fully than might otherwise have been the case.” (Id. at 6.) To explore the CI’s motives more

fully, Mr. Dougherty requests an evidentiary hearing at which he can examine the CI as a witness.

               3.      The Fifth Amendment’s Protection Against Outrageous Government
                       Conduct

       As another basis for relief, Mr. Dougherty argues that the Government violated his Fifth

Amendment right to due process by engaging in “outrageous” conduct. (Id. at 34.) In short, Mr.

Dougherty ascribes nefarious motives to the Government—namely, that it mischaracterized the

nature and relevance of the CI’s disclosures. (Id. at 34–35.) Mr. Dougherty also questions the

Government’s claim that it did not pursue (and eventually obtain) the Second Indictment based on

the CI’s disclosures. (Id. at 35.)

 II.   ANALYSIS

       A.      The Government Did Not Violate the Third Circuit’s Restrictions on the Use
               of a CI

       The Third Circuit has held that the Government’s use of CI violates a defendant’s Sixth

Amendment rights in three circumstances: “(1) [when the Government] intentionally plants an


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informer in the defense camp; (2) when confidential defense strategy information is disclosed to

the prosecution by a government informer; or (3) when there is no intentional intrusion or

disclosure of confidential defense strategy, but a disclosure by a government informer leads to

prejudice to the defendant.” United States v. Costanzo, 740 F.2d 251, 254 (3d Cir. 1984) (citing

Weatherford v. Bursey, 429 U.S. 545 (1977)). For the following reasons, Mr. Dougherty has failed

to establish that the Government engaged in any such conduct here.

               1.      Intentional Intrusion into the Defense Camp

        The parties have not provided, and the Court has not been able to find, significant analysis

of which types of meetings or relationships constitute a “defense camp.” The relevant cases,

however, suggest that the phrase at least contemplates a close-knit meeting between parties with

similar interests and their counsel (or, arguably, other trusted advisors). In Costanzo, for example,

the Government’s CI was a former attorney of the defendant who had “declined to enter an

appearance on behalf of any one defendant” and instead “decided that each defendant would retain

his own counsel and that he [the former attorney] would work with all the co-defendants.”

Costanzo, 740 F.2d at 254. The Costanzo defendant in question then participated in group

meetings with the former attorney and co-defendants, in which the former attorney “discussed trial

strategy.” Id. The defendant further testified that he discussed these matters “with the expectation

that [the former attorney] was assisting with petitioner’s defense and that their conversations with

him were confidential.” Id.

        The district court found that no attorney-client relationship existed at the time that the

former attorney agreed to act as a CI, and the Third Circuit affirmed that conclusion. Id. The

Third Circuit then assessed whether the Government’s intrusion was intentional, but it did not

expressly address whether trial strategy meetings with a former attorney constituted a defense

camp.    Id.   One likely implication from this silence is that the Third Circuit thought it


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uncontroversial that a defense camp is not strictly limited to meetings between a defendant and his

counsel of record but, rather, may also include meetings with trusted advisors, such as former

counsel. 7

        Even if a defense camp may include advisors other than counsel, however, the Union’s

meetings in this case represent less of a camp and more of a village. Although the meetings do

not appear to have been public, at least 30 Union employees attended these calls. Mr. Dougherty

has not claimed that anyone from his defense team attended these meetings, and many (if not most)

attendees were not subject to any charges relating to Mr. Dougherty’s own. In fact, as Mr.

Dougherty himself acknowledges (Def.’s Br. 5–6), the personal ambitions of certain attendees may

very well have led them to hope that the Government would succeed in its cases against Mr.

Dougherty. Additionally, these were Union meetings whose purpose was to address Union

business—not the charges and trials arising from this case. Concluding that these meetings

constituted a defense camp would strain the natural and legal understanding of the phrase.

        Mr. Dougherty’s position also fails because even if the Union meetings were a defense

camp, he has not shown that the Government intentionally invaded that space. In Costanzo, the

Third Circuit agreed with the district court that the Government’s intrusion was not intentional, in

part because “the FBI agents instructed [the CI] not to disclose any defense strategy information,”




7
        Other key informant cases from Third Circuit suggest, without expressly deciding, that a
defense camp may consist of a defendant, his co-defendants, and their respective counsel. See,
e.g., United States v. Levy, 577 F.2d 200, 204–05 (3d Cir. 1978) (finding a Sixth Amendment
violation where the Government CI was a co-defendant with the Levy appellant, both were
represented by the same counsel, and the CI provided information about the appellant’s defense
strategy that the CI had gleaned from meetings between the CI, the Levy appellant, and their shared
counsel); United States v. Rispo, 460 F.2d 965, 977–78 (3d Cir. 1972) (finding a Sixth Amendment
violation where the Government planted a spurious defendant whose counsel participated in
meetings with co-defendants’ counsel).



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and agents “periodically consulted with their supervisors to make certain that their use of [the CI]

remained within legal limits.” Costanzo, 740 F.2d at 255.

       Here, Agents Fear and Blake instructed the CI to withhold potentially protected

information from them and, instead, to contact an agent unaffiliated with the investigation. The

Government also established a filter team that followed procedures designed to protect confidential

information. Even if the Court were to agree with Mr. Dougherty that the Government did not

execute these precautions perfectly, the relevant standard is not whether the Government

negligently or recklessly intruded into the defense camp; the Government must have intentionally

done so. As in Costanzo, the Government’s precautions here indicate that it was, in fact,

intentionally seeking to avoid any problematic information. Because Mr. Dougherty fails to

establish both that the Union meetings were a defense camp and that the Government intentionally

intruded into that camp, the first scenario described by the Costanzo court is inapplicable here.

               2.      Disclosure of Confidential Defense Strategy

       As to the second Costanzo scenario, the Government’s CI may not disclose confidential

defense strategy to the prosecution. If such a disclosure occurs, a defendant need not make an

additional showing of prejudice. Levy, 577 F.2d at 209–10. Protected information may include

strategies such as the witnesses that a defendant intends to call and the information that a defendant

may use to impeach the Government’s witnesses. See, e.g., id. at 204 (finding a Sixth Amendment

violation where federal agents (and, ultimately, the prosecution) “learn[ed] that the defense

strategy would be to concentrate on the credibility of two key government witnesses”).

       In Costanzo, the Court considered whether the defendant’s intent to “get” one of his

acquaintances, who was both a private investigator as well as an informant and friend of one of

the Government’s witnesses. 740 F.2d at 255. The Costanzo defendant claimed that this

information revealed his intent to subpoena the acquaintance, and once the Government learned of


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this fact, the Government helped the acquaintance avoid being subpoenaed. Id. The Third Circuit

found that, based on other facts in the record, the far more likely interpretation of the defendant’s

remark was that the defendant intended to harm the acquaintance, not subpoena him. Id. at 256.

Accordingly, the remark did not reflect confidential defense strategy. Id. Likewise, the defendant

argued that once the CI revealed that the defendant had taped his meetings with an FBI agent, the

Government then knew that the defendant intended to use those recordings to impeach the agent’s

testimony at trial. Id. But the Third Circuit found that this information was not confidential

defense strategy, because the Government already knew from other sources that the defendant had

taped the agent on at least one occasion, and the CI’s disclosure made no “reference to [the

defendant’s] intended use for the tape.” Id.

       Here, the Government’s CI recorded Union meetings and summarized conversations held

apart from Mr. Dougherty’s meetings with his counsel. There is no indication that the CI ever

participated in any such legal meetings. Further, Mr. Dougherty’s divulgence of ostensible defense

strategy at Union meetings attended by around 30 individuals—many of whom were not Mr.

Dougherty’s co-defendants and may have even had interests adverse to Mr. Dougherty’s own—

undermines the claim that his remarks were confidential. Cf. United States v. Brodie, 250 F. Supp.

2d 466, 460–70 (E.D. Pa. 2002) (supposed defense strategy was not confidential where

“[s]ecretaries know about it and are gossiping about it in a public place over dinner”). 8




8
        As another example of supposedly confidential defense strategy, Mr. Dougherty points to
his claim that one assistant U.S. attorney prosecuting his case was married to a Comcast executive.
That information, however, also was not confidential, as the Government certainly would have
been aware of the potential conflicts of its own prosecuting team. See Costanzo, 740 F.2d at 256
(disclosure was neither confidential nor prejudicial where the information “had been known to the
government for a long time”).


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       Even if the Court considered Mr. Dougherty’s statements to be confidential, which they

clearly are not, they do not amount to defense strategy. The allegedly improperly disclosed

strategy consists of Mr. Dougherty’s defense that he accrued significant “uncompensated hours

and expenses . . . due to the lack of attention and formality” in the Union’s internal procedures,

presumably suggesting that any alleged embezzlement was, in fact, what Mr. Dougherty believed

to be innocent (albeit informal) reimbursement. (Def.’s Br. 21.) But as in Costanzo—where the

disclosed information revealed that the defendant had recorded an FBI agent but did not reveal

that the defendant intended to use the recordings to impeach the agent—the statements cited by

Mr. Dougherty merely reflect that he was busy, felt underpaid, and was occasionally frustrated by

the informal reimbursement process, not that the centerpiece of his defense to the embezzlement

charges would be a lack of criminal intent. Likewise, Mr. Dougherty’s comment about “ask[ing]

Dave Thomas,” when read in context, clearly indicates his belief that Mr. Thomas would agree

that Mr. Dougherty was crucial to the completion of the casino—not that Mr. Thomas would be a

key defense witness at trial for the First or Second Indictment.

       The information obtained by the Government from the CI was neither confidential nor

defense strategy. The second Costanzo scenario is inapplicable here.

                  3.   Disclosures that Prejudiced the Defendant

       Even if a defendant has not established the first two Costanzo scenarios, a Sixth

Amendment violation may still have occurred if “a disclosure by a government informer leads to

prejudice to the defendant.” Costanzo, 740 F.2d at 254. Mr. Dougherty has shown no such

prejudice here.

       First, as in Costanzo, the disclosure of Mr. Dougherty’s supposed reference to calling a

witness at trial did not result in any prejudice to Mr. Dougherty, as there is no indication in the

record that the Government interpreted Mr. Dougherty’s remark in that manner. 740 F.2d at 256


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(“[T]he district court’s finding that there was no prejudice is supported by the record evidence

showing that the FBI did not understand the [relevant] disclosure to relate to an attempt to

subpoena [the supposed witness] . . . .”). Second, and again as in Costanzo, because the

Government already knew from its wiretaps that Mr. Dougherty worked significant hours and was

frustrated by Local 98’s reimbursement practices (see Gov.’s Br. 15–16), Mr. Dougherty has not

shown any prejudice from the disclosure of his remarks reflecting the same, see Costanzo, 740

F.2d at 256–57 (“[A]ll the information that was contained in the [relevant] disclosure—that

petitioner ‘had tape recorded’ [an FBI agent]—had been known to the government for a long

time.”).

       Based on the foregoing, Mr. Dougherty has not established that the Government created

any of the three scenarios prohibited by the Third Circuit in Costanzo. Rather, even if the

Government here did not execute its procedures perfectly, the alleged misconduct falls far short of

the practices proscribed by cases such as Levy and Rispo.

       B.       The Government’s Use of a CI Here Is Not Comparable to United States v.
                Henry

       Mr. Dougherty refers to United States v. Henry to support an argument that notwithstanding

any prophylactic instructions given to a CI, a Sixth Amendment violation may occur in light of the

CI’s motives and the nature of the CI’s conversations with a defendant. 447 U.S. 264, 266 (1980).

In Henry, however, the Government approached and paid an indicted defendant’s cellmate to

become friendly with the defendant and learn information regarding the defendant’s bank robbery

charges. Id. The Supreme Court found a Sixth Amendment violation due to several factors: the

Government had paid the informant to “deliberately elicit” incriminating information regarding

the defendant’s bank robbery; the Government only paid the informant if he provided useful

information; and the defendant had been living in the same jail cell as the informant, a setting that



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produced “powerful psychological inducements [for the defendant] to reach for aid . . . .” Id.

at 273–74.

       These factors are not present in this case. The CI initiated contact with the Government,

not the other way around; the Government never paid the CI to “deliberately elicit” information

from Mr. Dougherty and instead instructed the CI not to elicit protected information; and the CI

only recorded Mr. Dougherty during Union meetings with a large audience present. Because Mr.

Dougherty’s case offers no similarity to the circumstances in Henry, Mr. Dougherty’s speculation

as to the CI’s potential motives does not warrant an evidentiary hearing to question the CI directly.

       C.      The Government Has Not Engaged in Egregious Conduct that Violated Mr.
               Dougherty’s Fifth Amendment Rights

       As a final basis for relief, Mr. Dougherty invokes the Due Process Clause’s protection

against “outrageous law enforcement investigative techniques.” United States v. Voigt, 89 F.3d

1050, 1064 (3d Cir. 1996) (gathering authorities). The Voigt court focused on one subset of

outrageous conduct: “a claim of outrageous government conduct premised upon deliberate

intrusion into the attorney-client relationship will be cognizable where the defendant can point to

actual and substantial prejudice.” Id. at 1066. As discussed above, this Court finds that the

Government did not intrude into the attorney-client relationship, and the CI’s disclosures did not

result in prejudice to Mr. Dougherty in any event.

       Having concluded that this species of outrageous conduct is not present here, the Court

also considers whether the Government’s conduct “shocks the conscience” in any other regard.

Id. at 1065 (quoting Rochin v. California, 342 U.S. 165, 172 (1952)). The Government has

demonstrated that it made good faith efforts to prevent the investigating agents and prosecuting

attorneys from acquiring Mr. Dougherty’s protected information, and in light of the Third Circuit’s

admonition that “this court and other appellate courts have . . . exercised extreme caution in finding



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due process violations in undercover settings,” United States v. Martino, 825 F.2d 754, 763 (3d

Cir. 1987) (quoting United States v. Ward, 793 F.2d 551, 554 (3d Cir. 1986)), this Court rejects

Mr. Dougherty’s due process claim. 9

III.   CONCLUSION

       For the foregoing reasons, Mr. Dougherty’s Motion is denied. 10 The Government’s

conduct in this case falls far short of warranting a dismissal of the First Indictment, a new trial as

to the First Indictment’s public corruption charges, or any of the other relief requested by Mr.

Dougherty. A corresponding order accompanies this memorandum.




9
        For the same reasons, the Court rejects Mr. Dougherty’s suggested alternative remedy of
suppressing the recordings, precluding Agents Fear and Blake from testifying at trial, and requiring
all of the present prosecutors to recuse themselves from future proceedings in this case. The
Government’s conduct in this case does not warrant any of these draconian measures.
10
       Mr. Dougherty’s Motion is limited to the indictment in this case—i.e., the First Indictment.
So, too, is this Court’s order. The Court will address arguments specific to the Second
Indictment—such as whether the CI’s disclosures played a role in obtaining it—in due course.


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